                                                  18-14100Ord-Dism




IT IS SO ORDERED.

Dated: 27 November, 2018 02:13 PM




                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

  In re:   Torrance Vaughan                                          ) Case No. 18-14100
           XXX-XX-4776                                               ) Chapter 13 Proceedings
                                                                     ) Judge Jessica E. Price Smith
                                                                     )
                Debtor                                               )

                     ORDER DISMISSING CASE AND RELEASING
             INCOME OF DEBTOR FROM THE JURISDICTION OF THE COURT

     This case came on for consideration by the Court upon all the matters scheduled for hearing on
November 8, 2018. The objection to confirmation filed by the Chapter 13 Trustee is sustained.

       IT IS HEREBY ORDERED that confirmation of the plan is denied, and the case is hereby
dismissed.

        The Debtor is in material default in funding the Plan, either pursuant to §§1307(c)(4) and
1326(a)(1)(A) of the Bankruptcy Code, or pursuant to this Court's policies and procedures regarding
plan funding, which require the Debtor to be current in plan funding at the time of confirmation.

        The Debtor and/or the Debtor's employer, as well as the future income of the Debtor, is hereby
released from the supervision and control of the Court, as well as any order of the Court requiring
payments to the Trustee in this case.




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        The Trustee is authorized to pay to the Bankruptcy Court an amount equal to the amount of any
unpaid filing fees. Any payment made to the Bankruptcy Court for unpaid filing fees shall be paid from
funds received either from or on behalf of the Debtor prior to the dismissal of this case and, in order to
comply with Bankruptcy Rule 1006(b)(3) and any relevant statute(s), said distribution may be made
before (and possibly to the detriment of) any other authorized but unpaid distributions and/or refunds.
The Trustee is also authorized to retain the administrative fee on funds received.


  Submitted by:
  /s/ Lauren A. Helbling
  LAUREN A. HELBLING (#0038934)
  Chapter 13 Trustee
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  Phone (216) 621-4268      Fax (216) 621-4806
  Ch13trustee@ch13cleve.com

                                            SERVICE LIST

Lauren A. Helbling, Chapter 13 Trustee
(served via ECF)

Office of the U.S. Trustee
(served via ECF)

All creditors and parties of interest
(served via ECF)

R J Budway, Attorney for Debtor
(served via ECF)

Torrance Vaughan, Debtor
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Elyria OH 44035




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